            Case 1:16-cv-02227-DLF        Document 201        Filed 12/05/24     Page 1 of 5




                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA


 ANDREW J. BRIGIDA, et al.,

                 Plaintiff Class,

           vs.                                                 No. 16-cv-2227 (DLF)

 PETER P.M. BUTTIGIEG, Secretary,
 U.S. Department of Transportation,

                 Defendant.


                  PLAINTIFFS’ UNOPPOSED MOTION FOR EXTENSION OF
                            EXPERT DISCOVERY SCHEDULE

       Plaintiffs Andrew J. Brigida, Matthew L. Douglas-Cook, and the certified Class (together,

“Plaintiffs”) respectfully move for a modest extension of the schedule governing expert discovery in

this matter. Plaintiffs have consulted with Defendant regarding this motion, and Defendant has in-

formed Plaintiffs that Defendant does not oppose the requested extension.

       In its August 2, 2024 Minute Order, the Court adopted the parties’ proposed revisions to the

schedule governing the completion of fact and expert merits discovery and the briefing of summary

judgment motions. That revised schedule included deadlines for the parties to produce expert disclo-

sures and to complete expert depositions. 1 It also included a schedule for the briefing of summary

judgment motions, under which briefing would begin in June 2025 and end in September 2025.

       Since the adoption of the revised schedule, the parties have continued to make progress towards

the completion of merits discovery. The parties worked together to schedule and complete the


       1
        Under the revised schedule, Plaintiffs are to produce their initial expert disclosures by De-
cember 20, 2024, Defendant is to produce its expert disclosures by February 10, 2025, Plaintiffs are to
produce any rebuttal expert reports by March 21, 2025, and expert depositions are to be completed by
May 12, 2025.
                                                   1
           Case 1:16-cv-02227-DLF         Document 201        Filed 12/05/24      Page 2 of 5



depositions of fact witnesses, and have, subject to the resolution of remaining issues concerning De-

fendant’s privilege invocations, 2 completed document productions and other written fact discovery.

       It has recently become apparent to Plaintiffs, however, that they needed a short extension of

the deadlines governing the completion and service of expert disclosures. Plaintiffs therefore proposed

to Defendant to extend the current deadlines for the parties’ initial disclosures by about 30 days (with

some minor adjustments to account for weekends and holidays), and to extend the current deadlines

for any rebuttal reports and the completion of expert depositions by less than 30 days. Defendant does

not oppose these modest revisions to the expert discovery schedule. Importantly, these revisions do

not necessitate any revisions to the schedule for the briefing of summary judgment motions following

the completion of expert discovery.

       Plaintiffs therefore respectfully request that the Court enter a new scheduling order with the

following deadlines:

           1. The schedule for expert discovery shall be revised as follows:

                   a. Plaintiffs’ expert disclosures pursuant to Fed. R. Civ. P. 26(a)(2) are due on or
                      before January 21, 2025. (The deadline under the current schedule is Decem-
                      ber 20, 2024.)

                   b. Defendant’s expert disclosures pursuant to Fed. R. Civ. P. 26(a)(2) are due on
                      or before March 14, 2025. (The deadline under the current schedule is February
                      10, 2025.)

                   c. Plaintiffs shall serve any rebuttal expert reports on or before April 15, 2025.
                      (The deadline under the current schedule is March 21, 2025.)

                   d. All experts who provide disclosures pursuant to the above schedule are to be
       2
          Under the revised schedule adopted by the Court in its Minute Order, the deadline for the
completion of written fact discovery did not apply to “any remaining disputes between the parties
concerning privilege assertions or clawback demands.” As the parties indicated in their Joint Motion
seeking the adoption of that revised schedule (Doc. 198), the parties have been working diligently to
attempt to resolve their differences regarding Defendants’ privilege invocations, or, failing that, to
narrow any privilege disputes that might need to be presented to the Court. Joint Motion at 3. While
the parties have, since filing the Joint Motion, continued to try, with some success, to narrow their
differences, Plaintiffs anticipate that they will likely need to file, in the coming weeks, a motion to
compel on this issue.
                                                    2
        Case 1:16-cv-02227-DLF         Document 201        Filed 12/05/24     Page 3 of 5



                    made available for deposition, and all such depositions must be completed on
                    or before May 30, 2025. (Under the current schedule, expert discovery is to
                    close by May 12, 2025.)

         2. The schedule for the filing of summary judgment motions remains unchanged and shall
            be as follows:

                 a. Plaintiffs shall file any motion for summary judgment on or before June 10,
                    2025.

                 b. Defendant shall file any consolidated opposition to Plaintiffs’ summary judg-
                    ment motion and cross-motion for summary judgment on or before July 28,
                    2025.

                 c. Plaintiffs shall file any consolidated opposition to Defendant’s summary judg-
                    ment motion and reply in support of their summary judgment motion on or be-
                    fore August 25, 2025.

                 d. Defendant shall file any reply in support of its summary judgment motion on or
                    before September 22, 2025.

      A proposed order incorporating the above schedule is attached to this Motion.

DATED: December 5, 2024.

                                                /s/ David H. Thompson
                                               David H. Thompson, DC Bar No. 450503
                                               Vincent J. Colatriano, DC Bar No. 429562
                                               Adam P. Laxalt, DC Bar No. 1670779
                                               Samuel Adkisson, DC Bar No. 90023952
                                               COOPER & KIRK, PLLC
                                               1523 New Hampshire Ave., N.W.
                                               Washington, D.C., 20036
                                               Telephone: (202) 220-9600
                                               Facsimile: (202) 220-9601
                                               Email: vcolatriano@cooperkirk.com

                                               Michael W. Pearson, DC Bar No. 997169
                                               CURRY, PEARSON, & WOOTEN, PLC
                                               814 West Roosevelt
                                               Phoenix, AZ 85007
                                               Telephone: (602) 258-1000
                                               Facsimile: (602) 523-9000
                                               Email: mpearson@azlaw.com

                                               Sean Nation, pro hac vice
                                               William E. Trachman, DC Bar No. 502500
                                               MOUNTAIN STATES LEGAL FOUNDATION
                                                 3
Case 1:16-cv-02227-DLF   Document 201     Filed 12/05/24    Page 4 of 5



                              2596 South Lewis Way
                              Lakewood, CO 80227
                              Telephone: (303) 292-2021
                              Facsimile: (877) 349-7074
                              Email: snation@mslegal.org

                              Counsel for Plaintiff Class




                                4
         Case 1:16-cv-02227-DLF        Document 201        Filed 12/05/24     Page 5 of 5



                                CERTIFICATE OF SERVICE
      I hereby certify that the foregoing document was served by e-mail on counsel for Defend-

ant on December 5, 2024.

                                                  /s/ Vincent J. Colatriano
                                                  Vincent J. Colatriano




                                                 5
